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To: Hon. Jil Mazer-Marino
Re: Avon Place, LLC Bankruptcy Hearing -- Case 1-25-41368 (JMM)

April 25, 2025

Your Honor,

I am submitting this letter anonymously due to fear of retaliation. I have lived at Avon Place
Apartments, with my young son, for two and a half years. I feel that my experiences may be
relevant, or at least provide some context, in the bankruptcy proceedings of Avon Place, LLC.

During our time here I have raised many concerns with management. The most concerning
event occurred in June, 2023. There was a sewage back up which resulted in the toilets and
bathtub filling and overflowing with raw sewage. For twenty-two hours I collected this waste in
kitchen bowls and large storage containers, dumping them outside. Despite my best efforts it
flowed throughout our apartment. During this time I made numerous phone calls to
management and visited the management office. It was finally my phone call to the police
department which resulted in the water in the building being turned off. It was longer still until a
plumber was on site. This flood also affected two neighboring apartments. I was left with no
choice but to move my son and I into a hotel. At my insistence they brought in a company to
remediate. I overheard onsite management tell this company that if they were able to minimize
the cost, they would be paid in cash. The company only flood cut the walls and removed some
of the flooring. Despite my daily contact with management and frequent phone calls to the
Farmington Valley Health Department, they did not clean the apartment. The sheetrock was
replaced but the finish work was not done, including mud, tape, trim and painting. After nearly a
month, I decided to clean the apartment myself and finish what of the work I could. I received no
financial compensation from Avon Place, LLC.

Last spring I was told that wood chips would be spread under the onsite playground for safety.
This has not been done. During our time here, our HVAC unit has never been serviced despite
my maintenance request. I imagine that you have heard about the fire last year in building 44
which displaced 50 families, and two subsequent fires in building 48. There is a gym onsite with
multiple pieces of broken equipment and a broken mirror. There are exterior doors which are
unable to be secured as the locking mechanisms are broken. The pool was closed by the health
department and then reopened last summer. The room where pool equipment and chemicals,
and maintenance log are stored was not locked. I was able to see this log and that pool
maintenance was performed at most 3 times per week. This is an incomprehensive list of
concerns I have brought to management which have not been not addressed.

Thank you for your time and consideration of our concerns.
